
382 U.S. 287 (1965)
TRAVIA ET AL.
v.
LOMENZO, SECRETARY OF STATE OF NEW YORK, ET AL.
No. 633.
Supreme Court of United States.
Decided December 13, 1965.
APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK.
Simon H. Rifkind, Edward N. Costikyan and Leo A. Larkin for appellants.
Louis J. Lefkowitz, Attorney General of New York, Daniel M. Cohen, Assistant Solicitor General, Donald Zimmerman, Special Assistant Attorney General, George D. Zuckerman, Assistant Attorney General, and Willis Burton Lemon for appellees.
PER CURIAM.
The judgment is affirmed.
MR. JUSTICE HARLAN concurs in the result for the reasons stated in his acquiescence to the affirmance of the judgment in Travia v. Lomenzo, ante, p. 4, at 8.
MR. JUSTICE FORTAS took no part in the consideration or decision of this case.
